              IN THE UNITED STATES DISTRICT COURT
         FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                       ASHEVILLE DIVISION
                  CRIMINAL CASE NO. 1:09-cr-26-07

UNITED STATES OF AMERICA         )
                                 )
              vs.                )                    ORDER
                                 )
MARK TAYLOR LEWIS                )
________________________________ )


      THIS MATTER is before the Court on the Defendant’s Motion for

Reduction of Sentence filed pursuant to 18 U.S.C. § 3582(c)(2) and

U.S.S.G. § 1B1.10(c), Amendment 782 (Nov. 1, 2014). [Doc. 512]. Such

motion was filed by the Federal Defenders of WNC, Inc. on November 14,

2014. [Id.].

      The Probation Office has submitted a supplement to the Defendant’s

Presentence Report (“PSR”) in this matter. [Doc. 517]. Based thereon, the

Court determines that the United States Attorney should file a response to

the Defendant’s Motion.

      IT IS, THEREFORE, ORDERED that no later than thirty (30) days

from the entry of this Order, the United States Attorney shall file a pleading

responsive to Defendant’s Motion for Reduction of Sentence.

      IT IS SO ORDERED.




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